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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
   SPN/MKM/KDE                                        271 Cadman Plaza East
   F. #2015R00747                                     Brooklyn, New York 11201



                                                      November 20, 2018

   By ECF

   The Honorable Pamela K. Chen
   United States Magistrate Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

                 Re:     United States v. Rafael Salguero
                         Criminal Docket No. 15-252 (S-1) (PKC)
   Dear Judge Chen:

                   In advance of the defendant’s sentencing, scheduled for December 6, 2018, at
   2:30 p.m., the government respectfully submits this letter to request that the Court order that
   the transcript of the defendant’s plea proceeding be unsealed in redacted form. The bases for
   maintaining limited portions of the transcript under seal are set forth in a separate, sealed
   submission filed today along with the proposed redacted transcript. The government also
   respectfully requests that the sealed docket entries relating to this defendant be unsealed for
   the limited purpose of permitting the government to review those entries in consultation with
   defense counsel to assess whether broader unsealing of any such entries is warranted at this
   time. Attached hereto is a proposed limited unsealing order.

                 Defense counsel has been consulted and takes no position on this request.

                                                      Respectfully submitted,

                                                      RICHARD P. DONOGHUE
                                                      United States Attorney

                                               By:              /s/
                                                      Samuel P. Nitze
                                                      M. Kristin Mace
                                                      Keith D. Edelman
                                                      Assistant U.S. Attorneys
                                                      (718) 254-7000
   Enclosure

   cc:    Clerk of Court (by ECF)
          Lou Freeman, Esq. (by ECF)
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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   --------------------------X

   UNITED STATES OF AMERICA                           LIMITED UNSEALING ORDER
          - against -                                 CR 15-252 (PKC)
   RAFAEL SALGUERO,

                        Defendant.

   --------------------------X


                 Upon the application of RICHARD P. DONOGHUE, United States Attorney

   for the Eastern District of New York, by Assistant United States Attorney Samuel P. Nitze,

   for an order (1) unsealing a redacted plea transcript in the above-captioned matter, and (2)

   unsealing sealed docket entries relating to the above-referenced defendant for the limited

   purpose of permitting the government to review the entries, in consultation with defense

   counsel, to assess whether broader unsealing of any such entries is appropriate at this time,

                 IT IS HEREBY ORDERED that the transcript of the defendant’s plea in the

   above-captioned case be unsealed with the redactions proposed in the government’s sealed

   submission dated November 20, 2018;

                 IT IS FUTHER ORDERED that sealed docket entries related to the above-

   referenced defendant shall be unsealed for the limited purpose of permitting the government
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   to review those entries, in consultation with defense counsel, but that the sealed docket

   entries shall otherwise remain under seal.

   Dated: Brooklyn, New York
          _________________, 2018




                                                HONORABLE PAMELA K. CHEN
                                                UNITED STATES DISTRICT JUDGE
                                                EASTERN DISTRICT OF NEW YORK
